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Election Identification Certificate (EIC)
County Clerk Office Instructions

Step 26: Give the receipt and all Original documents except the signature card and EIC
application (DL-14C/CS) to the customer. Attach the signature card to the DL-14C/CS as both
documents will be transported (by the trooper) back to the driver license office for processing
Explain to the customer that this receipt is good for 30 days and if their application and

transaction are confirmed they will receive their Texas Election Identification Certificate in the
mail.

At the end of the day:

Step 27: Transfer all EIC data from the laptop to the designated flashdrive by following the
steps below:

a. Ensure no other devices are plugged in the computer. Plug the flashdrive into the laptop
to transfer the pictures, documents and receipt files from the laptop to the flashdrive.

b. Enter the password (Monday@01) and click the “Unlock” button.

r

= ce

This drive is protected by BitLocker Drive Encryption

Type your password to unlock this dive

S88ee8s00

| ii Shaw password charectars a4 jtype them
Sutomatcally unlock 99 mus comouter from naw 49

Liorgalmy password

|
ne

———————

c. The following screen will display. Click the red “X” to close the window.

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Election Identification Certificate (EIC)
County Clerk Office Instructions

SB Atopy ee

i? KINGSTON urDrive (E:)

General Lop Hore ae =e

Use this i for isp
Y using Windows Backup

al Speed up my system
<0" using Windows ReadyBoost

i AilD a ethictpetornens

d. Double-click the "upload "icon from the Desktop to transfer the files from the laptap to
the flashdrive.

e. Press any key to continue after the screen below appears or wait for the countdown to
complete.

Cony Ane mca shit peer ereeeees eee —

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Election Identification Certificate (EIC)
County Clerk Office Instructions

t. Right click on the "Safely Remove Hardware" icon from the taskbar.

d. Select "Eject Data Transmission 2.0.
Once the "it's safe to remove hardware" message is received, remove flashdrive from
laptop.

Rig n
. the "Safely »
remove
hardware"

The designated flashdrive, and all completed EIC applications (DL-14C/CS), signature cards,
and EIC County Tracking Sheets will be placed in the county's folder and given to a Trooper
to be transported to the driver license office for final processing.

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RE EE I

DRIVER LICENSE Manager's Fax Numbers*

Region1A Salestus Winkley

Fax# (214) 861-2103 Region4 Stella Valenzuela
Dallas Fax# (432) 498-2374
Midland
Region1B Stephen Berkley
Fax# (817) 285-1909 RegionS Tom Valdez
Fort Worth Fax# (806) 472-2848
Lubbock
Region 2A Tom Carter
Fax# (281) 517-1375 Region6A Barbara Hubbard
Houston Fax# (210) 531-2278
San Antonio
Region 2B Kathy Bergman
Fax# (936) 442-2881 Region6B Joseph Garcia
Houston Fax# (254) 759-7198
Austin

Region3 Sam Silva
.Fax# (956) 565-7205
McAllen

*Fax Texas EIC reports to nearest Regional manager

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EIC Data Deletion Instructions

Below are the instructions for deleting data collected when processing an Election Identification
Certificate on the mobile units.

leting Photos from Camer:

At the end of the day all images collected will be erased from the camera. This can be done by
formatting the memory card in the camera. Formatting erases all data on a memory card.
Before formatting, make sure images were copied on to the flash drive.

Select the [On/Off] button to activate camera.

Select [Menu] button.

Press the (arrow right) to access the toolbox icon.

Press the [Disp] and scroll down to [ Format] and the press [Func Set).

Press theQ (arrow right) to highlight “OK".

Press (Func Set] to format memory card.

Press [Func Set] again to erase images.

Press [Auto] (arrow up) to highlight “OK”. (All data on memory card will be erased)
Press [Func Set] and OK (Memory Card Formatting Complete) and “OK”.

te EIC Data fi apt _
Delete EIC Da rom Laptop =

After the EIC information has been saved on the Flashdrive, the data should be
erased from the Laptop by clicking on the “erase La ptop” icon located on the
desktop.

Delete the Data from the Flashdrive

It is important to maintain the data on the Flashdrive until the day after pending EIC
transactions have been processed and verified in DLS. This is not an issue for the counties since
you have multiple flashdrives and will not receive the first flashdrive back until the 37 day,
To delete the data from the Flashdrive:

1. Insert the Flashdrive into the mobile unit laptop.

2. Click on the “erase Flashdrive” icon located on the desktop.

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County Appendix D

TEX |.R.000300
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Of

Date:
County EIC Location: Items to Replenish

O No
Office: O Yes

List Items:

Mobile Unit 4:
Employee:
County Clerk items to Verify each day
O Verify Flashdrive empty Items to Verity End of Da
= SER ae D Photos deleted from Camera
° Ha Eon SY card ecu Oo Data remaved fram laptop
0 Check printer ink cartridge levels QO ____ElC applications, flashdrive and EIC Tracking
O ___ Check printer paper quantity Sheet updated and handed off ta State trooper
Items to Annotate Beginning of Da QO Inquiries only- EIC Tracking sheet faxed to
Flashdrive used: Driver License Regional Manager

N/A-No| I
Mobile Unit Inventory Complete OQ N/A-No Issuance or Inquires

ch as 0 Camera charging
O No
List Missing Items: Oo Ensure Mobile Lite set logged out and
secured
o Ensure Mobile Lite set is secured

County Appendix E

L

TEX 1.R.000301
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BC MOBILE LITE UNIT
UNIT# COUNTY NAME:
CHEOK TUB AB “T “QUANTITY ITEM
3 N SSCANNER, POWER CORD & USB
A 1 CONNECTOR
A 1 INK CARTRIDGE
A 1 BLUE SCREEN
A 1 SCREEN HOLDER
A 1 SCREEN TRIPOO
B 1 LAPTOP & MOUSE
B 1 LAPTOP BAG
FLASHDRIVES#_A_ae B_
B 5 ce -8. 0 # E
B 4 [CAMERA
8 4 POWER STRIP
8 1 CAMERA TRIPOD CASE Te |
A 2 [BUNGIE CORDS
B 7 USBCORD
A 1 BANNER
FOLDERS:
DOEACHOFDL-WC&DL-HCS&DL-174
25 EACH- EICDAILY TRACKING LOG
TX ECSTATISTICTRACKING SHEET
B GC DAILY VERIFICATION LOG
1 DOLLY (PUSH CARTI
A PACKAGE ‘TURE CARDS
A ee larewes
: 3s
8 BOX HOOKS
B BOX [COMMAND STRIPS
A 4 ROLLS TAPE
2 {TOTES WITH LIDS
LAPTOP SERIAL NUMBER
CAMERA SERIAL NUMBER
9 N SCANNER SERIAL NUMBER
L CERTIFY THAT ALL ITEMS LISTED NTHE ABOVE LOG ARE CONTAINED
INTHE TWO CONTAINERS.
SIGNATURE
DATE
TIME
WITNESS
DATE
TIME
County Appendix F

TEX I.R.000302
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County EIC Training

Identification and U.S. Citizenship Requirements

U.S. Citizenship
An applicant for an Election Identification Certificate (EIC) must present one of the following
documents to verify their U.S. citizenship:
* U.S. passport or passport card; or
© Birth certificate issued by a U.S. state, U.S. territory or District of Columbia; or
* For U.S. citizens born abroad — Certificate of Report of Birth (DS-1350 or FS-545) or
Consular Report of Birth (FS-240) issued by the U.S. Department of State; or
® U.S. Certificate of Citizenship or Certificate of Naturalization (N-560, N-561, N-645, N-
550, N-55G, N-570, or N-578); or
* 1/S/ Department of Justice Immigration and Naturalization Service U.S. Citizen ID Card
(Form !-197 or !-179)

Note: If the EIC applicant presents a U.S. Certificate of Citizenship or Certificate of
Naturalization which includes the person's identifiable photograph they will not qualify
for EIC. The document will be accepted as photo identification to cast their vote.

Identity
An applicant for an Election Identification Certificate (EIC) must provide documents satisfactory
to the Department af Public Safety to verify their identity. All documents must be verifiable.
A. Bring one document listed in the primary category; or
B. Bring two documents listed in the secondary identification category; or
C. Bring one item listed in the secondary Identification category, plus two items listed in
the supporting Identification category.

Primary Identification

An individual can present one primary document. No other documents are required to verify
identity if one primary document is provided. Primary documents include:
* ATexas driver license or Texas personal identification card issued to the person that has
been expired more than 60 days and has been expired less than two years; American
Indian Card (1-872)
* Northern Mariana Card (1-873)

Secondary Identification
Applicants can present two secondary documents. These items are recorded governmental
documents (United States, one of the 50 states, a United States territory, or District of
Columbia). Secondary identity documents include:
* Original or certified copy of a birth certificate issued by the appropriate State Bureau of
Vital Statistics or equivalent agency,
* Original or certified copy of United States Department of State Certification of Birth
(issued to United States citizens born abroad};

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County EIC Training

« US. citizenship or naturalization Papers without identifiable photo.
Texas Dept. of State Health Services (DSHS) record of birth issued ONLY for the
purposed of obtaining an EIC {refer to example provided in training packet).(see example
provided}

Supporting Identification

Applicants who do not have a primary document or two supporting documents can provide one

secondary (from the list above} and two supporting documents. Supporting identity

documents include:
® Voter registration card;

School records;

insurance policy (at least two years old);

Texas vehicle or boat title or registration;

military records;

original or certified copy of marriage license or divorce decree;

Social Security card;

unexpired photo DL or ID issued by another (United States) state, U.S. territory, the

District of Columbia;

* expired photo DL or photo ID issued by another (United States) state, U.S. territory, or
the District of Columbia that is within two years of the expiration date;

* an offender identification card or similar form of identification issued by the Texas
Department of Criminal Justice;

® forms W-2 or 1099;

® Numident record from the Social Security Administration;

* expired Texas driver license or personal identification certificate (expired more than two
years);

* professional license issued by Texas state agency;

e identification card issued by government agency;

* parole or mandatory release certificate issued by the Texas Department of Criminal
Justice;

© federal inmate identification card;

* federal parole or release certificate;

¢ Medicare or Medicaid card;

¢ Selective Service card;

© immunization records;

* tribal membership card from federally recognized tribe;

* Certificate of Degree of Indian Blood;

¢ Veteran's Administration card;

¢ hospital issued birth record;

[County Appendix G

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ecuring Election Id cation Certificate Data e

The information collected, stored and Processed for the purposes of creating the
clection identify card is classified as Confidential data and must be protected in
accordance with Texas Administrative Code 202, Title 1, Part 10, Subchapter B, Rule
202.25. The following guidelines are provided to ensure the data and the devices
involved in storing and processing the data are secured.

* Confidential data must not be stored on mobile devices or portable storage
devices unless encrypted. The minimum algorithm strength for protecting
confidential information is a 128-bit encryption algorithm.

e TXDPS will install a security profile on all mobile devices, This configuration
may make some applications unusable or restrict the user's ability to access the
Internet, download, or modify applications. The user will not attempt 10 remove,
disable, or bypass any security settings enabled by TXDPS.

© The user is prohibited to downlad, forward, or store any government data off a
mobile device to a non-government information system, cmail repository, or
Storage location.

* All equipment is to be used for official business only.

* The user is prohibited from taking the mobile device outside of the United States
(US) for personal travel,

* A log will be maintain to track laptop and peripheral devices (flash drives,
Printers, scanners, etc.) used to process and store confidential information. User
will log the date and time device(s) are checked in and checkout. Logs are lo be
maintained for one year,

¢ EIC devices are to be stored ina physically secure area when not in use. A
physically secure location is a facility or an area, a room, within a facility with
both the physical and personnel security controls sufficient to protect confidential
data and associated devices.

* Afler data is moved to the primary driver license system, all data on the laptops
and portuble storuge devices must be deleted,

¢ All electronic media will be sanitized, that is, overwritten at least three times or
degauss clectronic prior to disposal or release for reuse by unauthorized
individuals.

County Appendix H

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EE DT

User Acknowledgement and Acceptance

The user understands and agrees they are accountable for safeguarding data collected,
Stored and processed for the issuance of the Election Identification Certificate and that
they may be held liable in administrative, civil, or criminal proceedin gs for any
unauthorized actions found to be intentional, malicious, or negligent.

I certify by my signature below that I have read and fully understand this document and
agree to comply with its contents.

Printed Name of User Signature of User Date

County Appendix H

TEX I.R.000306
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Instructions for HP Office Jet 4620 Printer Set-up

1. Power the Printer ON. The printer will display a message to “Select English”
© Select “OK”.
* Select “YES”.
2. The printer will display a message “Country/Region.
e Select “USA”.
¢ Select “OK”.
® Select “YES” again.
© Select OK
3. The printer will display a message “Press OK to begin setting up our printer’.
° Select “Ok”. ‘
4. The printer will display the message “Genuine HP ink cartridges installed.
® Select “OK”,
5." The printer will display the message, “Load paper into the input tray and press OK’,
® Load paper.
® Select “OK”.
Note: The printer will start the alignment test. Ifan error message “Alignment Failed”, select “OK” to
continue. DO NOT insert the CD. The printer will automatically restart the alignment process.

6. The computer will display the message, “Place alignment page face down on scanner glass and
press “OK",
® Place the alignment test print out page on the scanner screen and select “OK” to start the
scanner alignment test.
7. The computer will display the message, “Alignment has been completed.
® Select “OK”.

This will complete the printer configuration process.

TEX I.R.000307
